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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                               UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 99                                 SAN FERNANDO VALLEY DIVISION

10
10    In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                          Jointly administered with:
11
11    ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
      corporation1,                                       Chapter 11 Cases
12
12
13
13             Debtor and Debtor in Possession.
      ____________________________________
14
14    In re:                                              NOTICE OF DEBTORS’ REJECTION OF
                                                          CERTAIN EXECUTORY CONTRACTS
15
15    ICPW Liquidation Corporation, a Nevada              AND UNEXPIRED LEASES AND
                                                          DEADLINE TO FILE PROOF OF CLAIM
16    corporation2,
16                                                        BASED ON REJECTION OF SUCH
                                                          EXECUTORY CONTRACTS AND
17
17             Debtor and Debtor in Possession.           UNEXPIRED LEASES
      ____________________________________
18
18                                                        Deadline to file rejection damage claim:
           Affects both Debtors                           December 27, 2017
19
19
20      Affects ICPW Liquidation Corporation, a
20
      California corporation only
21
21
        Affects ICPW Liquidation Corporation, a
22
22    Nevada corporation only
23
23
24
24
25
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26
27
27
      1
          Formerly known as Ironclad Performance Wear Corporation, a California corporation.
28
28    2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

                                                      2
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 11          TO PARTIES TO REJECTED EXECUTORY CONTRACTS AND UNEXPIRED

 22   LEASES:

 33          PLEASE TAKE NOTICE that, as of November 14, 2017, the executory contracts and

 44   unexpired leases listed below have been deemed rejected by ICPW Liquidation Corporation, a

 55   California corporation, formerly known as Ironclad Performance Wear Corporation, a California

 66   corporation, and ICPW Liquidation Corporation, a Nevada corporation, formerly known as

 77   Ironclad Performance Wear Corporation, a Nevada corporation (collectively, the “Debtors”),

 88   pursuant to 11 U.S.C. § 365 and that certain Order: (1) Approving Sale Of Substantially All Of

 99   The Debtors’ Assets Free And Clear Of All Encumbrances; (2) Approving The Debtors’
10
10    Assumption And Assignment Of Certain Unexpired Leases And Executory Contracts And
11
11    Determining Cure Amounts And Approving The Debtors’ Rejection Of Unexpired Leases And
12
12    Executory Contracts Which Are Not Assumed; (3) Waiving The 14-Day Stay Periods Set Forth In
13
13    Bankruptcy Rules 6004(h) And 6006(d); And (4) Granting Related Relief (Docket No. 177).
14
14           PLEASE TAKE FURTHER NOTICE that, the parties to the executory contracts and
15
15    unexpired leases listed below have thirty days from the date of service of this Notice, i.e.,
16
16    December 27, 2017 (the “Bar Date”), to file a proof of claim for any claim arising from the
17
17    rejection of such executory contracts or unexpired leases. You may obtain a Proof of Claim
18
18    form (Official Form 41) on the Bankruptcy Court’s website or electronically file a Proof of
19
19    Claim at http://www.cacb.uscourts.gov, or visit the Intake area at any division of the Court.
20
20           PLEASE TAKE FURTHER NOTICE that, notwithstanding joint administration of
21
21    these cases, creditors must file their respective proofs of claim as to the specific affected and
22
22    applicable Debtor using the case number and the claim register for the specific affected and
23
23    applicable Debtor.
24
24           PLEASE TAKE FURTHER NOTICE that, any party that fails to file a proof of claim
25
25    with the Court by the Bar Date is forever barred from asserting a pre-petition claim against the
26
26    Debtors or the Debtors’ bankruptcy estates.
27
27           PLEASE TAKE FURTHER NOTICE that the executory contracts and unexpired
28
28    leases, and the contracting counter-parties affected by this Notice, are listed as follows:

                                                        3
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 11             Contracting Party Name                            Description of Contract
       Aaron Zhang                                     Independent Contractor Agreement
 22
       Acklands Grainger                               Customer contract
 33    Adi Kurniawan                                   Employee Agreement
       BIC Alliance                                    Magazine Subscription
 44    Custom Information Services                     IT Service Agreement
 55    Dayup Global Co., Ltd.                          Vendor Contract
       DRG Strategic, LLC - Bob Goldstein              Vendor Contract
 66    DTM Sales and Marketing                         Sales Representative Agreement
       DXP Enterprises                                 Customer Agreement
 77
       Huizhou Baijia Glove Co., Ltd.                  Vendor Contract
 88    Kartiko Sri Kuncoro                             Employee Agreement
       LAB Sales Agency                                Sales Representative Agreement
 99    MCR Safety                                      License Agreement
10
10     Muhammad Deni Indrajaya                         Employee Agreement
       Murski Breeding Sales Co.                       Sales Representative Agreement
11
11     Naayle Garments                                 Vendor Contract
12     Nanang Kuriawan                                 Employee Agreement
12
       Orgill                                          Customer Contract
13
13     Orr Safety                                      Customer Contract
       POH                                             Customer Contract
14
14     PT Adira Semesta Industry                       Vendor Contract
15
15     PT. Eagle Glove Indonesia                       Vendor Contract
       River Zheng                                     Independent Contractor Agreement
16
16     Russ MacDonald                                  Independent Contractor Agreement
17     R3 Safety aka Bunzl                             Customer Contract
17
       Sam’s Club                                      Customer Contract
18
18     Shur Sales                                      Customer Contract
       Snap-On                                         Customer Contract
19
19     Sony Riyadi                                     Employee Agreement
20
20     Stauffer Glove & Safety                         Customer Agreement
       TAB Sales Solutions                             Sales Representative Agreement
21
21     Trinet                                          Vendor Contract
22     Vincent A. Pestilli & Associates, Inc.          Sales Representative Agreement
22
23
23    Dated: November 27, 2017              ICPW LIQUIDATION CORPORATION, et al.

24
24                                               By:      /s/ Krikor J. Meshefejian
                                                          RON BENDER
25
25                                                        MONICA Y. KIM
26
26                                                        KRIKOR J. MESHEFEJIAN
                                                          LEVENE, NEALE, BENDER,
27
27                                                        YOO & BRILL L.L.P.
                                                          Attorneys for Debtors and
28
28                                                        Debtors in Possession

                                                   4
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled NOTICE OF DEBTORS’ REJECTION OF
      CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND DEADLINE TO FILE PROOF
  4   OF CLAIM BASED ON REJECTION OF SUCH EXECUTORY CONTRACTS AND UNEXPIRED
      LEASES will be served or was served (a) on the judge in chambers in the form and manner required by
  5   LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On November 27, 2017, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  8   Notice List to receive NEF transmission at the email addresses stated below:

  9            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
               Ron Bender rb@lnbyb.com
 10            Cathrine M Castaldi ccastaldi@brownrudnick.com
               Russell Clementson russell.clementson@usdoj.gov
 11            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
               Matthew A Gold courts@argopartners.net
 12            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 13             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 14            Samuel R Maizel samuel.maizel@dentons.com,
                alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
 15             .com;kathryn.howard@dentons.com
               Krikor J Meshefejian kjm@lnbrb.com
 16            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
               S Margaux Ross margaux.ross@usdoj.gov
 17            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
               Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
 18
 19   2. SERVED BY UNITED STATES MAIL: On November 27, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 20   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 21
 22                                                                           Service information continued on attached page
 23
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 24   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on November 27, 2017, I served the following persons and/or entities by personal delivery, overnight
 25   mail service, or (for those who consented in writing to such service method), by facsimile transmission
      and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
 26   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   Served via Attorney Service
      Hon. Martin R. Barash
  2   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  3   Woodland Hills, CA 91367

  4   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  5
       November 27, 2017                    Stephanie Reichert                           /s/ Stephanie Reichert
  6    Date                                 Type Name                                    Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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BIC ALLIANCE                                Shur-Sales & Marketing, Inc.             DRG Strategic, LLC - Bob Goldstein
P O Box 40166                               3830 S Windermere St.                    P O BOX 191981
Baton Rouge, LA 70835                       Englewood, CO 80110                      Dallas, TX 75219




DTM Sales and Marketing                     Vincent A. Pestilli & Associates, Inc.   Murski Breeding Sales Co.
391 Gingercake Road                         193 Sam Brown Hill Road                  9212 Chancellor Row
Fayetteville, GA 30214                      Brownfield, ME 4010                      Dallas, TX 75247




Custom Information Services                 MCR Safety                               Sony Riyadi
1201 N Watson Rd #110                       1255 Schilling Blvd. W                   Taman Intan Cimanggis Town House Block
Arlington, TX 76006                         Collierville, TN 38017                   D No.3 Jl. Raya Radar AURI Cisalak Pasar
                                                                                     Cimanggis, Depok Jawa Barat 16452



River Zheng                                 Adi Kurniawan                            Muhammad Deni Indrajaya
29th Hengtand Old Street, Yiting Town,      Metro Cluster Cendana M.6/40             Jl.Cilandak KKO, Gg Abbah 3
Shangyu District, Shaoxing Cit, Zhejiang    RT002 RW009 Kebon Dalem Purwakarta       RT09 RW05 Ragunan Pasar Minggu
Province, PRC                               Cilegon Banten 42433                     Jakarta Selatan , 12550



Kartiko Sri Kuncoro                         Nanang Kuriawan                          Russ MacDonald
Komplek Timah H.19 RT001 RW006              Dsn Jimbaran RT003 RW002                 23785 110B Avenue
Pangkalan Jati Baru Cinere                  Jimbaran Bandungan                       Maple Ridge, BC V2W 1E6
Depok Jawa Barat 16513                      Semarang Jawa Tengah 50651               Canada



TAB Sales Solutions                         LAB Sales Agency                         Stauffer Glove & Safety
12109-94A Street                            58 Regis Drive                           361 East Sixth Street
Grand Prairie, AB T8V 5C2                   Winnipeg, MB R2N 1K3                     Red Hill, PA 18076-045
Canada                                      Canada



DXP Enterprises                             Aaron Zhang                              POH
P.O. Box 1697                               Room 1202 Building 12 ,Biguiyuan ,       12 Brennan Way
Houston, TX 77251                           Renming Middle Road NO.527, Qidong       Belmont, Western Australia 6104
                                            County Nantong City, China 226200



Huizhou Baijia Glove Co., Ltd.              Acklands Grainger                        PT. Eagle Glove Indonesia
Diakali Mouza, Manigonggjpara               123 Commerce Valley Dr.                  Desa Bayen Purwomatani Kalasan
Savar, Dhaka, 1349, Bangladesh              Suite 700                                Sleman, Yogyakarta, 55571
                                            Thornhill, Ontario, L3T 7W               Indonesia
                                            Canada


Orgill                                      Dayup Global Co., Ltd.                   R3 Safety aka Bunzl
PO Box 140                                  Phum Prey Sala, Sangkat Kakap            P.O. Box 270417
Memphis, TN 38101                           Khan Posenchey, Phnom Penh               Saint Louis, MO 63141
                                            855, Cambodia



Trinet                                      Orr Safety                               Snap-On
1100 San Leandro Blvd., Suite 400           11601 Interchange Drive                  PO Box 1410
San Leandro, CA 94577                       Louisville, KY 40229                     Kenosha, WI 53141
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Sam's Club                           PT Adira Semesta Industry
Attn: General Merchandise Manager    Bihbul Raya 73, Kopo., Bandung
2101 SE Simple Savings Drive         West Java, 40228, Indonesia
Bentonville, AR 72716
